                Case 18-29835UNITED
                               Doc 42STATES
                                       Filed BANKRUPTCY
                                             04/01/21 Entered
                                                          COURT04/01/21 12:23:06
                                                                   NORTHERN                                      Desc Main
   Form G-14                             Document     Page 1 of 1
                                                         DISTRICT OF ILLINOIS
                                                          Eastern Division
                                     CHANGE OF MAILING ADDRESS FOR DEBTOR(S)
Name of Debtor(s) listed on the bankruptcy case:
                                                                                      18-29835
                                                                       CASE NO.: _________________

 Marqus A Berdell                                                                    13
                                                                       Chapter: _______________



    1. This change of mailing address is requested by:           ✔     Debtor                    Joint Debtor

    2. Old Address:

                   Marqus A Berdell
         Name(s): ________________________________________________________

                          1112 W Boughton Rd, Ste 114
         Mailing Address: ___________________________________________________

                                Bolingbrook, IL 60440
         City, State, Zip Code: _______________________________________________

    3. New Address:

                          323 Berkeley Dr
         Mailing Address: ___________________________________________________

                                Bolingbrook, IL 60440
         City, State, Zip Code: _______________________________________________



    4.         Check here if you are a Debtor or a Joint Debtor and you receive court orders and notices by email through the Debtor Electronic
         Notice program (DeBN) rather than by U.S. mail to your mailing address. Please provide your DeBN account number below (DeBN
         account numbers can be located in the subject line of all emailed court orders and notices).

         Debtor’s DeBN account number: ______________________________________________

         Joint Debtor’s DeBN account number: __________________________________________

               4/1/2021
         Date: _______________________                DAVID H. CUTLER
                                                     _______________________________________________________
                                                     Requestor’s printed name(s)

                                                     _______________________________________________________
                                                     Requestor’s signature(s)

                                                     DEBTOR'S ATTORNEY
                                                     _______________________________________________________
                                                     Title (if applicable, of corporate officer, partner or agent)


         _______________________________________________________________________________________________
         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Northern District of Illinois.
         August 2015



         8/2015bgb
